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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

CALIFORNIA DEPARTMENT OF TOXIC
SUBSTANCES CONTROL and the TOXIC
SUBSTANCES CONTROL ACCOUNT,

Case No.: 2:14-cv-00595-WBS-EFB
JIM DOBBAS, INC.’S

COUNTERCLAIM FOR:
Plaintiffs,
1. COST RECOVERY UNDER
v. CERCLA § 107;
2. CONTRIBUTION UNDER
JIM DOBBAS, INC., a California CERCLA § 113(f);

corporation; CONTINENTAL RAIL, INC.,a | 3.
Delaware corporation; DAVID VAN OVER,
individually; PACIFIC WOOD 4,
PRESERVING, a dissolved California

corporation; and WEST COAST WOOD
PRESERVING, LLC, a Nevada limited
liability company, 5

Defendants.

JIM DOBBAS, INC., a California
corporation,

Counterclaimant,
v.
CALIFORNIA DEPARTMENT OF TOXIC

SUBSTANCES CONTROL and the TOXIC
SUBSTANCES CONTROL ACCOUNT,

Counterdefendants.
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DECLARATORY RELIEF

UNDER CERCLA § 113(g);
CONTRIBUTION AND INDEMNITY
UNDER CALIFORNIA HEALTH
AND SAFETY CODE 8§ 25300 ET
SEQ,;

. DECLARATORY RELIEF UNDER 28

U.S.C. § 2201.

[FILED CONCURRENTLY WITH ANSWER TO
COMPLAINT AND DEMAND For JURY TRIAL]

Action filed: March 3, 2014

JIM DOBBAS, INC.*S COUNTERCLAIM TO DTSC’S COMPLAINT
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Defendant and counter-claimant Jim Dobbas, Inc. (“DOBBAS”) hereby counterclaims
against Plaintiff California Department of Toxic Substances Control (“COUNTER-
DEFNDANT”). DOBBAS makes the following allegations upon information and belief as to all
matters, other than those allegations specifically referring to DOBBAS, which it makes based
upon its own knowledge:

I. JURISDICTION

1. The Court has jurisdiction over these counterclaims pursuant to 28 United States
Code (“U.S.C.”) section 1331, and 42 U.S.C. section 9613(b). The Court has supplemental
jurisdiction pursuant to 28 U.S.C. section 1367, because the claims brought under California state
law arise from the same nucleus of operative facts.

II. VENUE

2 Venue is proper in this district pursuant to 28 U.S.C. 1391(b) and 42 U.S.C.
section 9613(b) because the alleged acts and omissions relate to the alleged hazardous substances
releases giving rise to COUNTER-DEFEDNANT’s claims asserted in the Complaint for
Recovery of Response Costs; Declaratory Relief; Injunctive Relief; Treble Damages; and Civil
Penalties (“Complaint”) on file herein, and relate to the real property located at or near 147 A
Street, Elmira, Solano County, California.

I. DEMAND FOR JURY TRIAL

a Defendant and counter-claimant, DOBBAS, hereby demands trial by jury in this
action.

IV. PARTIES

4. Defendant and counter-claimant, DOBBAS, is a privately held California
Corporation, located in the County of Placer, in the State of California.

5. DOBBAS is informed and believes, and thereon alleges, that COUNTER-
DEFENDANT the California Department of Toxic Substances Control (“DTSC”) is a public
agency of the State of California, organized and existing under California Health and Safety Code
section 58000 et seq. DTSC’s predecessor agency was the California Department of Public

Health.
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V. GENERAL ALLEGATIONS

6. DOBBAS is informed and believes, and thereon alleges that COUNTER-
DEFENDANT, and/or its predecessor agency, the California Department of Health Services, has
been involved with the property located at or near 147 A Street, Elmira, Solano County,
California (“Site”) for more than thirty-five years.

Fe COUNTER-DEFENDANT approved a remedial action plan for the Site in or
around the year 1983 (“1983 Remedial Action Plan”). A copy of the 1983 Remedial Action Plan
is attached hereto as Exhibit A and incorporated by this reference as though fully stated herein.

8. Subsequent to approval and implementation of the 1983 Remedial Action Plan,
COUNTER-DEFENDANT has undertaken additional response actions at, on, and/or near the Site
and surrounding properties.

9. On or about March 6, 1996, COUNTER-DEFENDANT issued a Certification of
Remedial Action for the Site (“1996 Certification of Remedial Action”). A copy of the 1996
Certification of Remedial Action is attached hereto as Exhibit B and incorporated by this
reference as though fully stated herein.

10. Subsequent to COUNTER-DEFENDANT’S 1996 Certification of Remedial
Action for the Site, COUNTER-DEFENDANT continued to be actively involved in the Site and
surrounding property.

Lil. COUNTER-DEFENDANT?S selection and implementation of response actions at,
on, and/or near the Site and surrounding properties were, and continue to be, negligent, grossly
negligent and/or constitute intentional misconduct.

12. COUNTER-DEFENDANT, through its response actions at the Site, is a liable

party pursuant to 42 U.S.C. section 9607(a), and California Health and Safety Code section

25323.5,
VI. FIRST COUNTERCLAIM
(Costs Recovery Under §107 of CERCLA)
13. DOBBAS realleges and incorporates by reference the allegations contained in

paragraphs 1 through 12, inclusive.
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14. COUNTER-DEFENDANT alleges in its COMPLAINT that the Site is a “facility”
within the meaning of section 101(9) of CERCLA, 42 U.S.C. section 9601(9). If such allegation
is true, the Site is a “facility.”

Is. COUNTER-DEFENDANT is a “person” within the meaning of section 101(21) of
CERCLA, 42 U.S.C. section 9601(21).

16. COUNTER-DEFENDANT is an “operator,” or was an “operator,” of the Site “at
the time of disposal of a[] hazardous substance” there, as those terms are used in section 107(a) of
CERCLA, 42 U.S.C. section 9607(a).

17. | COUNTER-DEFENDANT negligently selected and implemented response actions
at, on, and/or near the Site and surrounding properties.

18. COUNTER-DEFENDANT has engaged in gross negligence and/or intentional
misconduct at and with respect to the Site, in violation of 42 U.S.C. section 9607(d).

19. DOBBAS did not cause or contribute to any “hazardous substance” “release” or
“threatened release” at or from the Site.

20. DOBBAS denies that it is liable for any costs incurred as the result of the alleged
release or threatened release of hazardous substances at or from the Site. This denial
notwithstanding, DOBBAS has incurred and/or may, in the future, incur costs in response to the
release or threatened release of hazardous substances at or from the Site in a manner that satisfies
the requirements of Section 107(a) of CERCLA, 42 U.S.C. section 9607(a).

21. COUNTER-DEFENDANT is jointly and severally liable, without regard to fault,
under section 107(a) of CERCLA, 42, U.S.C. section 9607(a), for DOBBAS’ costs incurred in
response to the release or threatened release of hazardous substances at or from the Site.

VI. SECOND COUNTERCLAIM
(Contribution under CERCLA § 113(f))

22. DOBBAS realleges and incorporates by reference the allegations contained in
paragraphs | through 21, inclusive.
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23. COUNTER-DEFENDANT alleges in its COMPLAINT that the Site is a “facility”
within the meaning of section 101(9) of CERCLA, 42 U.S.C. section 9601(9). If such allegation
is true, the Site is a “facility.”

24. COUNTER-DEFENDANT is a “person” within the meaning of section 101(21) of
CERCLA, 42 U.S.C. section 9601(21).

25. COUNTER-DEFENDANT is an “operator,” or was an “operator,” of the Site “at
the time of disposal of a [] hazardous substance” there, as those terms are used in section 107(a)
of CERCLA, 42 U.S.C. section 9607(a).

26. COUNTER-DEFENDANT negligently selected and implemented response actions
at, on, and/or near the Site and surrounding properties.

af, COUNTER-DEFENDANT has engaged in gross negligence and/or intentional
misconduct at and with respect to the Site, in violation of 42 U.S.C. section 9607(d).

28. | DOBBAS did not cause or contribute to any “hazardous substance” “release” or
“threatened release” at or from the Site.

29. | DOBBAS denies that it is liable for any costs incurred as the result of the alleged
release or threatened release of hazardous substances at or from the Site. This denial
notwithstanding, DOBBAS has incurred and/or may, in the future, incur costs in response to the
release or threatened release of hazardous substances at or from the Site.

30. COUNTER-DEFENDANT is liable to DOBBAS for contribution under CERCLA
section 113(f), 42 U.S.C. section 9613(f) for some of all amounts DOBBAS incurred and may, in
the future, incur as a result of any release or threatened release of hazardous substances at and
from the Site, in that COUNTER-DEFENDANT is a liable party under CERCLA section 107(a),
42 U.S.C. section 9607(a).

VUI. THIRD COUNTERCLAIM
(Declaratory Relief under CERCLA § 113(g), 42 U.S.C. § 9613(g))

31. |DOBBAS realleges and incorporates by reference the allegations contained in

paragraphs | through 30, inclusive.

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52. An actual, substantial, and justiciable controversy exists between DOBBAS and
COUNTER-DEFENDANT, and each of them, regarding their respective rights and obligations
for response costs that DOBBAS may incur to respond to the release and/or threatened release of
hazardous substances into the soil and/or groundwater at and from the Site.

a3. DOBBAS seeks declaratory judgment against COUNTER-DEFENDANT under
CERCLA section 133(g)(2), 42 U.S.C. section 9613(g)(2), that will be binding in any subsequent
action to recover further response costs, holding COUNTER-DEFENDANT liable for an
equitable share (all or some portion) of any response costs DOBBAS may pay to respond to any
release and/or threatened release of hazardous substances into the soil and/or ground water at and
from the Site.

IX. FOURTH COUNTERCLAIM

(Contribution and Indemnity Under California Health and Safety Code Section
25300 et seq.)

34. DOBBAS realleges and incorporates by reference the allegations contained in
paragraphs 1 through 33, inclusive.

35. COUNTER-DEFENDANT caused or permitted a release or threatened release of
substances governed by the Hazardous Substances Account Act (“HSAA”) (California Health and
Safety Code section 25300 et seq.) into, on, or about the Site and surrounding properties.

36. © COUNTER-DEFENDANT is a “liable person” within the meaning of California
Health and Safety Code section 25323.5.

37. COUNTER-DEFENDANT negligently selected and implemented response actions
at, on, and/or near the Site and surrounding properties.

38. DOBBAS has not caused or contributed to any release or threatened release of
substances governed by the HSAA into, on, about or from the Site or surrounding properties and,
therefore, ig not a “liable person” as defined by California Health and Safety Code section
25323,5,

39, As a direct, legal, and proximate result of COUNTER-DEFENDANT’s acts and/or

omissions, pursuant to California Health and Safety Code sections 25320 and 25323.5, DOBBAS
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XI. PRAYER FOR RELIEF

WHEREFORE, DOBBAS prays that judgment be entered for DOBBAS and against
COUNTER-DEFENDANT as follows:

L. For judgment that PLAINTIFF is jointly and severally liable without regard to
fault pursuant to CERCLA section 107(a), 42 U.S.C. section 9607(a), for all response costs
incurred as a result of the release and threatened release of hazardous substances at and from the
Site, in an amount according to proof;

2 For contribution pursuant to CERCLA section 113(f), 42 U.S.C. section 9613(f),
in the amount of any judgment entered or settlement approved in favor of COUNTER-
DEFENDANT, or any other party, against DOBBAS for costs incurred and/or to be incurred in
response to the release and/or threatened release of hazardous substances at or from the Site;

a For contribution and indemnification pursuant to HSAA section 25300 et seq, for
all costs incurred and/or to be incurred by DOBBAS in response to the release and/or threatened
release of hazardous substances at or from the Site;

4, For litigation expenses and costs of suit incurred herein, including reasonable
attorney’s fees and expert fees;

5 For an award of interest at the maximum legal rate on any and all damages from
the earliest date permitted by law;

6. For a declaration and judgment of this Court in favor of DOBBAS and against the
COUNTER-DEFENDANT, and an order retaining jurisdiction to effectuate a declaration that
COUNTER-DEFENDANT is liable for all costs that DOBBAS may incur to respond to the
release and/or threatened release of hazardous substances at and from the Site:
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6. For such other and further relief as the Court deems just and proper.
Dated: June 10, 2014 KING WILLIAMS & GLEASON LLP
By: i

Jennifer Hartman Kixg
icole R. Gleason
Shelby M. Gatlin

Attorneys for Defendant JIM DOBBAS, INC.

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